    Case 1:18-cv-00632-RJJ-PJG ECF No. 9 filed 06/28/18 PageID.119 Page 1 of 1
                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

JOHN HEYKOOP doing business as
EAGLE TOWING,
                                             NO. 1:18-cv-00632
        Plaintiff,
                                             HON. ROBERT J. JONKER
v
                                             MAG. PHILLIP J. GREEN
MICHIGAN STATE POLICE, DAVID
ROESLER, JEFFREY WHITE, and
CHRIS McINTIRE,

        Defendants.

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Christopher S. Patterson (P74350)            Assistant Attorney General
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                                                                               /


           ORDER FOR EXTENSION TO RESPOND TO COMPLAINT

        The parties having stipulated to the entry of this order,

        IT IS HEREBY ORDERED that responsive pleadings for all Defendants

are due July 11, 2018.

                                                /s/ Robert J. Jonker
                                                Hon. Robert J. Jonker
Dated: June 28, 2018                            United States District Judge
